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UNITED STATES DISTRICT COURT
DISTRICT ()F NEW JERSEY

 

  

Michael Reaves,
Civil Action NO.: 3:l3-cv-0l483-AET-TJB
Plaintiff, '

Verizon Wireless; and DOES l-lO_, inclusive,

Defendant.

 

   

NOTICE OF W'ITHDRAWAL OF COMPLAlNT A VOLUNTARY' 191 j
DISMISSAL OF ACTION WITHOUT PREJUDICE b
PUR_SUANT TO RULE 41(a)

Michael Reaves (“Plaintifi”), by Plaintifl"s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 4l(a)(1)(A)(i).

Dated: l\/lay 21, 2013
Respectfully submitted,

By: /s/ Sofia Balile

 

Sof.`ia Balile_. Esq.

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Attorneys for Plaintiff`s

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CER'I`IFICATE OF SERVICE

l hereby certify that on May 2l., 2013, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the District of New Jersey
Electronic Document Filing System (ECF) and that the document is available on the `ECF
Systern.

By /s/ Sot`la Balile

Sof`la Balile

